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                                                         Delaware                                            Page 1


                                                                      The First State



                          I,    JEFFREY W.          BULLOCK,         SECRETARY OF STATE OF THE STATE OF

                  DELAWARE, DO HEREBY CERTIFY THE ATTACHED IS A TRUE AND CORRECT

                  COPY OF THE CERTIFICATE OF FORMATION OF "WSOU INVESTMENTS,

                  LLC", FILED IN THIS OFFICE ON THE TWENTY-FIFTH DAY OF JULY,

                 A.D.      2017, AT 12:54 O'CLOCK P.M.




             6491846 8100                                                                   Authentication: 202947516
             SR# 20175399560                                                                            Date : 07-25-17
             You may verify this certificate online at corp .delaware .gov/authver.shtml




                                                                                                     WSOU-GOOALL-0000407


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                                     STATE OF DELAWARE
                                  CERTIFICATE OF FORMATION
                                OF LIMITED LIABILITY COMP ANY
             The undersigned authorized person, desiring to form a limited liability company pursuant
             to the Limited Liability Company Act of the State of Delaware, hereby certifies as
             follows:

              1.    The name of the limited liability company is WSOU Investments, LLC




             2.       The Registered Office of the limited liability company in the State of Delaware is
             located at 16192 Coastal Highway                                                    (street),
             in the City of Lewes                               , Zip Co<le 19958                 . The
             name of the Registered Agent at such address upon whom process against this limited
             liability company may be sen ed is Harvard Business Services, Inc.
                                            1




                                                     Name: _ _ _ _ _M_a_rti_n_J_an_n_o_l _ _ _ _ _ __
                                                                   Print or Type




                                                                                                State of Delaware
                                                                                                Secretary or tate
                                                                                             Dh'lslon or Corporations
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